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                                   ID #:10691
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  11

  12                      UNITED STATES DISTRICT COURT

  13
                         CENTRAL DISTRICT OF CALIFORNIA

  14 SERENA FLEITES,
  15                           Plaintiff,
                   V.
  16   MINDGEEK S.A.R.L. a foreign entity;
  17   MG FREESITES, LTD., a foreign entity;          Case No. 2:21-cv-4920
       MINDGEEK USA INCORPORATED, a
       Delaware corporation; MG PREMIUM               DECLARATION OF FERAS
  18   LTD, a foreign entity; MG GLOBAL
       ENTERTAINMENT INC., a Delaware                 ANTOON IN SUPPORT OF
  19   corporation; 9219-1568 QUEBEC, INC.,           SPECIALLY APPEARING
       foreign entity; BERND BERGAMAIR, a             DEFENDANTSFERAS
  20   foreign individual; FERAS ANTOON, a            ANTOON AND DAVID
       foreign individual; DAVID TASSILLO, a          TASSILLO'S MOTION TO
  21   foreign individual; VISA INC., a Delaware      DISMISS THE SECOND
       corporation; REDWOOD MASTER                    AMENDED COMPLAINT
  22   FUND, LTD, a foreign entity; MANUEL
       2018, LLC, a Delaware corporation,
  23   GINGOGERUM, LLC, a Delaware
       corporation; WHITE-HATHAWAY
  24   OPPORTUNITY FUND, LLC, A
  25   Delaware corporation; COLBECK
       CAPITAL MANAGEMENT, LLC, a
       Delaware Corporation; CB AGENCY
  26   SERVICES, ILC, A Delaware
  27   corporation; and CB PARTICIP:"\TIONS
       SPV, LLC, a Delaware corporat10n
  28                           Defendants.

                           DECLARATION OF FERAS ANTOON
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   1         I, Feras Antoon, hereby state to the best of my knowledge and belief:
   2         1.     I submit this declaration in (i) support ofmy and David Tassillo's
   3 joint Motion to Dismiss Plaintiff's Second Amended Complaint (the "SAC")
   4 pursuant to Federal Rules of Civil Procedure 12(b)(2), 12(b)(6) and 9(b); and
   5 (ii) response to allegations in the SAC that I am an alter ego of various MindGeek
   6 entities, including 9219- 1568 Quebec Inc. ("9219 Inc.") and MG Freesites, Ltd.
   7   ("MG Freesites").
   8         2.     The purpose of this declaration is to address allegations in the SAC
   9   regarding personal jurisdiction and my supposed alter ego of various MindGeek
  10   entities, including, but not limited to MindGeek S.a.r.l.; MG Freesites, Ltd.;
  11   MindGeek USA; MG Premium Ltd.; MG Global Entertainment, Inc.; and 9219
  12 Inc. (collectively, the "MindGeek Entity Defendants").
  13         3.     This declaration does not respond to all other allegations in the SAC
  14 that either directly or indirectly involve me. The absence of such a response in this
  15   declaration should not be interpreted to mean I agree with those allegations nor that
  16 the allegations are true.
  17   A.   Personal Background
  18         4.     I am a citizen and resident of Canada.
  19         5.     I have been continuously residing in Canada since 2008.
  20         6.     I maintain a driver's license in Canada.
  21         7.     I own real property in Canada.
  22         8.     I am registered to vote in Canada.
  23         9.     I receive my mail in Canada.
  24         10.    I intend to remain and maintain my residence in Canada.
  25         11.    I have not resided in the United States.
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   1   B.   Employment History
   2         12.   During the period relevant to Plaintiff's SAC, the terms ofmy
   3 employment were governed by an employment agreement with 9219 Inc., a
   4 corporation established under the laws of the Province of Quebec.
   5         13.   Between June 2008 and June 2022, I was employed by 9219 Inc. as its
   6 Chief Executive Officer and worked in its principal office located at 7777
   7 Boulevard Decarie, Suite 600, Montreal, Quebec, Canada.
   8         14.   In connection with my employment, I provided managerial services to
   9 9219 Inc., which in tum provided various services to a number ofMindGeek-
  10 affiliated entities, including MG Freesites, pursuant to services agreements
  11   between 9219 Inc. and other MindGeek-affiliated entities.
  12         15.   On or about March 22, 2018, I entered into a Further Amended and
  13   Restated Executive Employment Agreement (the "Employment Agreement") with
  14 9219 Inc. A true and accurate copy of the Employment Agreement is attached
  15   hereto as Exhibit A.
  16         16.   As the Chief Executive Officer, I reported to 9219 ltic. 's Board of
  17 Directors (the "9219 Inc. Board").
  18         17.   Pursuant to the terms of the Employment Agreement, I received a
  19 base salary and was eligible for an annual bonus authorized by the 9219 Inc.
  20 Board, paid vacation, a monthly car allowance, and participation in a benefits plan.
  21         18.   In connection with this employment, I held one preferred share of
  22 9219 Inc. Approximately 20 other individuals each likewise held one preferred
  23   share of9219 Inc. The 9219 Inc. Board, in its sole discretion, declared and paid
  24 dividends in respect of such shares, which were bound by the limitations set by
  25   MindGeek's lenders.
  26         19.   In or about June 2022, I resigned from my position as Chief Executive
  27 Officer of9219 Inc.
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   1 C.     Economic Interest
   2         20.   Since in or about 2013, in com1ection with my service as an employee
   3 of9219 Inc. and pursuant to the Shareholders' Agreement discussed below, I held
   4 an approximate 21 % beneficial economic interest in the MindGeek group of
   5 entities.
   6         21.   MindGeek S.a.r.l. ("MindGeek Luxembourg"), a corporation
   7 incorporated under the laws of the Grand Duchy of Luxembourg, with its
   8 registered office at 46 Grand Rue, L-1660 Luxembourg, Grand Duchy of
   9 Luxembourg, entered into a Shareholders' Agreement dated as of October 13, 2018
  10 (the "Shareholders' Agreement"), among FDCO Holding, Inc. ("FDCO Holding")
  11 (formerly known as MindGeek Holding Inc.), Share Investments S.A., Coginvest
  12 S.A., Acaju Investments S.A., MindGeek RK S.a r.l., RK Holdings, LLC,
  13   MindGeek RK S.a r.l., and RT Holding S.a r.l. A true and accurate copy of the
  14 Shareholders' Agreement is attached hereto as Exhibit B.
  15         22.   The Shareholders' Agreement was amended as of March 22, 2018
  16 (the "Amendment"). A true and accurate copy of the Amendment is attached
  17 hereto as Exhibit C.
  18         23.   FDCO Holding was a company organized under the laws of Canada.
  19         24.   Pursuant to the Shareholders' Agreement, FDCO Holding regularly
  20 received financial statements prepared for and delivered by MindGeek
  21 Luxembourg; independent auditor's reports from MindGeek Luxembourg's
  22 auditor, Raymond Chabot Grant Thornton LLP; minutes from meetings of the
  23 MindGeek Luxembourg shareholders; and written resolutions of the MindGeek
  24 Luxembourg shareholders.
  25         25.   Prior to on or about March 2023, FDCO Holding held an approximate
  26 31 % economic interest under the Shareholders' Agreement, principally through
  27 MindGeek Luxembourg.
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   1         26.    9288-1275 Quebec, Inc. ("9288-1275 Quebec"), a Quebec company,
   2 held approximately 32% of the shares ofFDCO Holding.
   3         27.    9288-1259 Quebec, Inc. ("9288-1259 Quebec"), a Quebec company,
   4   held approximately 68% of the shares ofFDCO Holding.
   5         28.    Prior to on or about March 2023, I owned 100% of the preferred
   6   shares and, indirectly as a beneficiary of the Antman Family Trust, approximately
   7 95% of the common shares in 9288-1259 Quebec.
   8         29.    Pursuant to the Shareholders' Agreement and the amendment thereto,
   9   MindGeek Luxembourg distributed dividend payments to shareholders, including
  10   FDCO Holding, in amounts detennined by the MindGeek Luxembourg Board of
  11   Directors (the "MindGeek Luxembourg Board") or by the general meeting of
  12   shareholders, provided that the conditions for distributing dividends were satisfied.
  13         30.    I was not a member of the MindGeek Luxembourg Board.
  14         31.    To the extent that dividends were distributed, those dividends were
  15 paid by MindGeek Luxembourg to FDCO Holding and further distributed in
  16 proportion to the holdings in FDCO Holding.
  17         32.    Between approximately 2013 to 2016, MindGeek Luxembourg did
  18 not pay shareholder dividends.
  19         33.    Between approximately 2013 to 2016, I received the equivalent of
  20 dividend payments in the form of a bonus pursuant to lender consent and a profit-
  21   sharing mechanism that was in place at 9219 Inc. That profit-sharing mechanism
  22   applied to many other individuals as well.
  23         34.    Those bonus payments were taxed at a greater percentage than the tax
  24 levied on dividends distributed in or around 2017 via MindGeek Luxembourg.
  25         35.    FDCO Holding distributed MindGeek Luxembourg's dividend
  26 payments among 9288-1259 Quebec and 9288-1275 Quebec.
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   1         36.    Prior to on or about March 2023, I had an approximate 21 % beneficial
   2 economic interest in MindGeek Luxembourg and received dividend distributions
   3   through 9288-1259 Quebec.
   4         3 7.   In or about March 2023, FDCO Holding sold its approximate 31 %
   5 interest in MindGeek Luxembourg to ECP One Ltd.
   6   D.   Corporate Separation
   7         38.    During the period relevant to Plaintiff's SAC, my personal and
   8   financial affairs remained separate from the corporate and financial affairs of all
   9   MindGeek entities.
  10         39.    I have not shared a bank account with 9219 Inc., MindGeek
  11   Luxembourg, or any other MindGeek Entity Defendants
  12         40.    I did not have access or signatory authority for any bank account
  13   owned by 9219 Inc., MindGeek Luxembourg, or any other MindGeek Entity
  14 Defendants.
  15         41.    I have not been personally liable for the debts of9219 Inc., MindGeek
  16 Luxembourg, or any other MindGeek Entity Defendants.
  17         42.    I have not borrowed money from 9219 Inc., MindGeek Luxembourg,
  18 or any other MindGeek Entity Defendants.
  19         43.    The directors and officers of9219 Inc. and MindGeek Luxembourg
  20 were not identical.
  21   E.   Investment & Donation
  22         44.    Mr. Tassillo and I each invested in entities that collectively owned
  23   (i) a 47% minority interest in property located at 7777 Boulevard Decarie in
  24 Montreal, Quebec; and (ii) a 30% minority interest in property located at 8000
  25   Boulevard Decarie in Montreal, Quebec.
  26         45.    As previously noted, the offices of9219 Inc. are located at 7777
  27 Boulevard Decarie, Suite 600, Montreal, Quebec.
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   1         46.    Prior to our purchase of the building located at 7777 Boulevard
   2 Decarie in Montreal, Quebec, Mr. Tassillo and I disclosed to all relevant
   3   MindGeek boards of directors, and outside accountants, our intention to purchase
   4 an interest in a portion of the building. To maintain an arm's length negotiation,
   5   the majority owners, Mr. Tassillo, and I hired a third-party firm to perform an
   6   analysis of rental pricing, which was the price we then offered to 9219 Inc. The
   7 financing departtnent of 9219 Inc. thereafter independently reviewed and approved
   8 the rental terms.
   9         47.    Shortly after the purchase of the building located at 8000 Boulevard
  10   Decarie, in Montreal, Quebec, the COVID-19 pandemic prevented the building
  11   from being occupied.
  12         48.    On occasion, I participated in discount programs available to
  13   employees of the MindGeek entities to purchase - using my personal funds -
  14 electronic equipment such as iPads for donation to my children's school.
  15                                             * * *
  16         49.    I declare under penalty of perjury under the laws of the United States
  17 of America that the foregoing is tn1e and correct.
  18 Executed on: August 30, 2024
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  21                                              Feras Antoon
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